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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 UNITED STATES OF AMERICA                                *    CRIMINAL NO. 98-30010-22

 VERSUS                                                  *    JUDGE JAMES

 BRANDON CARYELL FLINTROY                                *    MAGISTRATE JUDGE HAYES



                             REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is a

 motion to vacate, set aside, or correct sentence under § 2255 filed by pro se defendant Brandon

 Caryell Flintroy. (Doc. #1247). The government opposes Flintroy’s motion (Doc. #1251). For

 reasons stated below, it is recommended that the motion be DISMISSED WITHOUT

 PREJUDICE.

                                         BACKGROUND

        In the instant motion, Flintroy seeks a reduction of his sentence for the time he allegedly

 spent in custody due to a federal detainer. (Doc. #1247, p.3). Flintroy was indicted in 1998 and

 pleaded guilty to possession with intent to distribute cocaine base, in violation of 21 USC §

 841(a)(1) and 18 U.S.C. § 2, in June 1999. (Docs. #16, 588-93). Flintroy was sentenced to 70

 months imprisonment (to run concurrent with any sentence imposed in state court) and four years

 of supervised release. (Docs. #803-05). Flintroy began his supervised release on April 8, 2005.

 (Doc. #1247, p.2).

        In November 2005, the United States Probation Offices submitted a violation report

 indicating that Flintroy had violated conditions of his supervised release. (Docs. #1171-76). In

 lieu of revocation, the court ordered Flintroy to report to the City of Faith Community

 Correctional Center in Monroe for a period of six months. (Docs. #1185, 1190).

        On August 21, 2006, an arrest warrant issued for revocation of Flintroy’s supervised

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 release for possession of marijuana and felony possession of a firearm. (Docs. #1220; 1247, p.2).

 Flintroy alleges that the “Probation officer placed a detainer on [Flintroy] when he was arrested

 on August 21,” which prevented him “from making state bond.” (Doc. #1247, p.2). On

 November 20, 2006, a final hearing was held on the revocation issue. The court revoked

 Flintroy’s supervised release and committed him to the custody of the Bureau of Prisons for a

 term of 22 months. (Doc. #1239). Flintroy alleges that he completed his state sentence on

 August 6, 2007. (Doc. #1247, p.3). He is currently incarcerated in Mississippi.

                                       LAW AND ANALYSIS

        Flintroy’s claim is properly raised in a petition for writ of habeas corpus under 28 U.S.C.

 § 2241.1 United States v. Tubwell, 37 F.3d 175, 177 (5th Cir. 1994) (explaining that § 2241 is

 the proper vehicle where the defendant challenges “the manner in which his sentence is being

 executed rather than the validity of his conviction and sentence.”). “To entertain a § 2241 habeas

 petition, the district court must, upon the filing of the petition, have jurisdiction over the prisoner

 or his custodian.” United States v. Brown, 753 F.2d 455, 456 (5th Cir. 1985); Pack v. Yusuff, 218

 F.3d 448, 451 (5th Cir. 2000). Flintroy is incarcerated in Mississippi, outside the Western

 District of Louisiana. (Doc. #1251-1, p.6). Consequently, this court lacks the jurisdiction to

 consider the instant motion.

        Flintroy should be free to refile a motion under § 2241 in the federal court in the district

 in which he is incarcerated. Should he elect to do so, however, he should consider the Fifth

 Circuit requirement that he first exhaust his administrative remedies. See Rourke v. Thompson,

 11 F.3d 47, 49 (5th Cir. 1993) (quoting United States v. Gabor, 905 F.2d 76, 78 n. 2 (5th Cir.

 1990)) (holding that a movant under § 2241 “must first exhaust his administrative remedies



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         Flintroy originally filed a motion for modification of supervised release under 18 U.S.C.
 § 3565(a)(1). Subsequently, the undersigned retitled it as a motion to vacate, set aside, or correct
 sentence under § 2255.

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 through the Bureau of Prisons.”); but see also Fuller v. Rich, 11 F.3d. 61, 62 (5th Cir. 1994)

 (noting that “exceptions to the exhaustion requirement [may] apply . . . in extraordinary

 circumstances.”).

        For the aforementioned reasons IT IS RECOMMENDED that Flintroy’s motion be

 DISMISSED WITHOUT PREJUDICE. Under the provisions of 28 U.S.C. §636(b)(1)(C) and

 FRCP Rule 72(b), the parties have ten (10) business days from service of this Report and

 Recommendation to file specific, written objections with the Clerk of Court. A party may

 respond to another party’s objections within ten (10) business days after being served with a

 copy thereof. A courtesy copy of any objection or response or request for extension of time shall

 be furnished to the District Judge at the time of filing. Timely objections will be considered by

 the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 15th day of January, 2008.




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